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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND



 IN RE EMERGENT BIOSOLUTIONS INC.
 SECURITIES LITIGATION                                   Civil No. 8:21-cv-00955-PWG

                                                         CLASS ACTION

 THIS DOCUMENT RELATES TO:
 All Actions



                         DECLARATION OF TIMOTHY J. PERLA

I, TIMOTHY J. PERLA, declare as follows:

       I am a partner with the firm of Wilmer Cutler Pickering Hale and Dorr LLP, counsel for

Defendants Emergent BioSolutions Inc. (“Emergent”) and Defendants Robert G. Kramer,

Richard S. Lindahl, and Syed T. Husain (the “Individual Defendants”) in the above-captioned

matter. I am a member in good standing of the Bar of the States of New York and

Massachusetts, and I am duly admitted pro hac vice to practice before this court. I submit this

Declaration in order to place before the Court certain documents and information referred to in

the Memorandum of Law in Support of Defendants’ Motion to Dismiss the Amended Class

Action Complaint.

       1.      Attached hereto as Exhibit 1 is a true and correct copy of an Op-Ed written by

Robert Kramer and published in The Baltimore Sun on November 4, 2021.

       2.      Attached hereto as Exhibit 2 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-Q for the quarterly period ending March 31, 2020, as filed with the SEC on

May 1, 2020 (“Q1 2020 10-Q”).
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       3.      Attached hereto as Exhibit 3 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-Q for the quarterly period ending June 30, 2020, as filed with the SEC on

July 31, 2020 (“Q2 2020 10-Q”).

       4.      Attached hereto as Exhibit 4 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-Q for the quarterly period ending September 30, 2020, as filed with the

SEC on November 6, 2020 (“Q3 2020 10-Q”).

       5.      Attached hereto as Exhibit 5 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-K as filed with the SEC on February 19, 2021 (“2020 10-K”).

       6.      Attached hereto as Exhibit 6 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-Q for the quarterly period ending March 31, 2021, as filed with the SEC on

April 30, 2021 (“Q1 2021 10-Q”).

       7.      Attached hereto as Exhibit 7 is a true and correct copy of relevant excerpts from

Emergent’s Form 10-Q for the quarterly period ending June 30, 2021, as filed with the SEC on

July 30, 2021 (“Q2 2021 10-Q”).

       8.      Attached hereto as Exhibit 8 is a true and correct copy of an Emergent press

release, dated March 10, 2020.

       9.      Attached hereto as Exhibit 9 is a true and correct copy of an Emergent press

release, dated April 23, 2020.

       10.     Attached hereto as Exhibit 10 is a true and correct copy of an Emergent earnings

press release, dated April 30, 2020.

       11.     Attached hereto as Exhibit 11 is a true and correct copy of an Emergent earnings

call presentation, dated April 30, 2020.




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       12.     Attached hereto as Exhibit 12 is a true and correct copy of an Emergent

presentation given at the Bank of America Securities 2020 Health Care Conference, dated May

12, 2020.

       13.     Attached hereto as Exhibit 13 is a true and correct copy of an Emergent press

release, dated June 1, 2020.

       14.     Attached hereto as Exhibit 14 is a true and correct copy of an Emergent press

release, dated June 11, 2020.

       15.     Attached hereto as Exhibit 15 is a true and correct copy of an Emergent

presentation given at the IDEAS Northeast Investor Conference 2020, dated June 24, 2020.

       16.     Attached hereto as Exhibit 16 is a true and correct copy of an Emergent press

release, dated July 6, 2020.

       17.     Attached hereto as Exhibit 17 is a true and correct copy of an Emergent press

release, dated July 27, 2020.

       18.     Attached hereto as Exhibit 18 is a true and correct copy of an Emergent earnings

press release, dated July 30, 2020.

       19.     Attached hereto as Exhibit 19 is a true and correct copy of an Emergent earnings

call presentation, dated July 30, 2020.

       20.     Attached hereto as Exhibit 20 is a true and correct copy of an Emergent

presentation given at the 2020 Intellisight Conference, dated August 12, 2020.

       21.     Attached hereto as Exhibit 21 is a true and correct copy of an Emergent

presentation given at the 2020 NASEM Symposium: COVID-19 Vaccines, Therapeutics, and

Treatments, dated August 26, 2020.




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        22.    Attached hereto as Exhibit 22 is a true and correct copy of an Emergent earnings

press release, dated November 5, 2020.

        23.    Attached hereto as Exhibit 23 is a true and correct copy of an Emergent earnings

call presentation, dated November 5, 2020.

        24.    Attached hereto as Exhibit 24 is a true and correct copy of an Emergent

presentation given at the 2020 Southwest IDEAS Northeast Investor Conference, dated

November 18, 2020.

        25.    Attached hereto as Exhibit 25 is a true and correct copy of an Emergent webinar

entitled “15th Annual Singular Research Best of the Uncovered Webinar,” dated December 10,

2020.

        26.    Attached hereto as Exhibit 26 is a true and correct copy of an Emergent earnings

press release, dated January 10, 2021.

        27.    Attached hereto as Exhibit 27 is a true and correct copy of an Emergent

presentation given at the 39th Annual J.P. Morgan Healthcare Conference, dated January 11,

2021.

        28.    Attached hereto as Exhibit 28 is a true and correct copy of an Emergent earnings

press release, dated February 18, 2021.

        29.    Attached hereto as Exhibit 29 is a true and correct copy of an Emergent earnings

call presentation, dated February 18, 2021.

        30.    Attached hereto as Exhibit 30 is a true and correct copy of an Emergent

presentation given at the J.P. Morgan Global Leveraged Finance and High Yield Conference,

dated March 1, 2021.




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       31.     Attached hereto as Exhibit 31 is a true and correct copy of an Emergent press

release, dated April 1, 2021.

       32.     Attached hereto as Exhibit 32 is a true and correct copy of an Emergent press

release, dated April 4, 2021.

       33.     Attached hereto as Exhibit 33 is a true and correct copy of an Emergent press

release, dated April 21, 2021.

       34.     Attached hereto as Exhibit 34 is a true and correct copy of an Emergent earnings

press release, dated April 29, 2021.

       35.     Attached hereto as Exhibit 35 is a true and correct copy of an Emergent earnings

call presentation, dated April 29, 2021.

       36.     Attached hereto as Exhibit 36 is a true and correct copy of an Emergent

presentation given at the Singular Research Spring Select Conference, dated May 27, 2021.

       37.     Attached hereto as Exhibit 37 is a true and correct copy of an Emergent press

release, dated June 11, 2021.

       38.     Attached hereto as Exhibit 38 is a true and correct copy of an Emergent

presentation given at the IDEAS East Coast Conference, dated June 16, 2021.

       39.     Attached hereto as Exhibit 39 is a true and correct copy of an Emergent press

release, dated July 29, 2021.

       40.     Attached hereto as Exhibit 40 is a true and correct copy of an Emergent earnings

press release, dated July 29, 2021.

       41.     Attached hereto as Exhibit 41 is a true and correct copy of an Emergent earnings

call presentation, dated July 29, 2021.




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        42.    Attached hereto as Exhibit 42 is a true and correct copy of an Emergent

presentation given at the IDEAS Midwest Conference, dated August 25-26, 2021.

        43.    Attached hereto as Exhibit 43 is a true and correct copy of an Emergent

presentation given at the Baird’s 2021 Global Healthcare Conference, dated September 14, 2021.

        44.    Attached hereto as Exhibit 44 is a true and correct copy of an FDA Form 483,

prepared following an inspection of Bayview from April 12 to April 20, 2021 and dated April 20,

2021.

        45.    Attached hereto as Exhibit 45 is a true and correct copy of a report issued by

BARDA as part of Operation Warp Speed Report, dated June 17, 2021 (the “Warp Speed

Report”).

        46.    Attached hereto as Exhibit 46 is a true and correct copy of a report issued by J&J,

dated July 24, 2020 (the “Janssen Report”).

        47.    Attached hereto as Exhibit 47 is a true and correct copy of a Chardan analyst

report, dated April 30, 2021.

        48.    Attached hereto as Exhibit 48 is a Form 4 for Mr. Robert Kramer, as filed with the

SEC on January 19, 2021.

        49.    Attached hereto as Exhibit 49 is a Form 4 for Mr. Robert Kramer, as filed with the

SEC on February 26, 2021.

        50.    Attached hereto as Exhibit 50 is a Form 4 for Mr. Robert Lindahl, as filed with

the SEC on May 8, 2020.

        51.    Attached hereto as Exhibit 51 is a Form 4 for Mr. Robert Lindahl, as filed with

the SEC on May 11, 2021.




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Executed this 19th day of May, 2022, in Boston, Massachusetts.

                                           WILMER CUTLER PICKERING HALE
                                           AND DORR LLP




                                           ________________________
                                           Timothy Perla

                                           Attorney for Defendants Emergent
                                           BioSolutions and Defendants Robert G.
                                           Kramer, Richard S. Lindahl, and Syed. T.
                                           Husain




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